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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                8:06CR19

      vs.
                                                           MEMORANDUM
JOSE ALVAREZ-CORIA,                                         AND ORDER

                    Defendant.


      This case is before the Court on the Defendant’s pro se motion for a reduction in

sentence (Filing No. 243).

      The Defendant argues that, as an alien, he is entitled to a one-year reduction in

his sentence through the Bureau of Prisons drug program and early release to a

halfway house under the Equal Protection Clause of the United States Constitution.

The Eighth Circuit Court of Appeals Alvarez-Cori has denied numerous similar claims.

See, e.g., United States v. Bobinger, 2010 WL 3154962, at 1 (8th Cir. Aug. 9, 2010).

      IT IS ORDERED:

      1.      The Defendant’s motion for a reduction in sentence (Filing No. 243) is

denied; and

      2.      The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

      Dated this 24th day of August, 2012.

                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               Chief United States District Judge
